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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 KERR MACHINE CO.,

                   Plaintiff,

        v.                                          CIVIL ACTION NO. 6:20-CV-200-ADA

 VULCAN INDUSTRIAL HOLDINGS, LLC,
 VULCAN ENERGY SERVICES, LLC, and                           JURY TRIAL DEMANDED
 CIZION, LLC d/b/a VULCAN
 INDUSTRIAL MANUFACTURING,

                   Defendant.


               DECLARATION OF BARRY J. HERMAN IN SUPPORT OF
             DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF

       I, Barry J. Herman, hereby declare as follows:

       1.      I am an attorney with the law firm Womble Bond Dickinson (US) LLP, counsel for

Defendants Vulcan Industrial Holdings, LLC, Vulcan Energy Services, LLC, and Cizion, LLC

d/b/a Vulcan Industrial Manufacturing (collectively, “Vulcan”) in the above-entitled action. I

submit this Declaration in support of Vulcan’s Responsive Claim Construction Brief.

       2.      I make this declaration on the basis of personal knowledge, and if called to testify

as witness, I would and could testify competently hereto.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of Cizion, LLC d/b/a Vulcan

Industrial Manufacturing v. Kerr Machine Co., PGR2020-00065, Paper 7 (Patent Owner’s

Preliminary Response) (PTAB Sept. 11, 2020).

       4.      Attached hereto as Exhibit 2 is a chart showing relatedness between U.S. Patent

No. 10,591,070, U.S. Patent Application No. 16/876,414, and U.S. Patent Application No.
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16/897,659, along with true and correct copies of PTO filing receipts for each of the applications

establishing relatedness.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of the October 21, 2020

Office Action regarding U.S. Patent Application No. 16/876,414.

       6.      Attached hereto as Exhibit 4 is a true and correct copy of the Merriam-Webster

definition    of    Annular.         Annular,     MERRIAM-WEBSTER,         https://www.merriam-

webster.com/dictionary/annular (last visited Oct. 29, 2020).

       7.      Attached hereto as Exhibit 5 is a true and correct copy of the Merriam-Webster

definition    of    Bounded.         Bounded,     MERRIAM-WEBSTER,         https://www.merriam-

webster.com/dictionary/bounded (last visited Oct. 29, 2020).

       8.      Attached hereto as Exhibit 6 is a true and correct copy of the Merriam-Webster

definition    of     Bound.          Bound,      MERRIAM-WEBSTER,          https://www.merriam-

webster.com/dictionary/bound (last visited Oct. 29, 2020).



       I declare under penalty of perjury under the laws of the United Sates that the forgoing is

true and correct.



       Dated: October 29, 2020                      /s/ Barry J. Herman
                                                        Barry J. Herman
